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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                              :
UNITED STATES OF AMERICA                      :
                                              :
v.                                            :         No. 21-CR-292-1 (RCL)
                                              :
CHRISTOPHER WORRELL,                          :
                                              :
                          Defendant.          :


              UNITED STATES’ NOTICE REGARDING FINDINGS OF FACT

         The United States submits this notice with respect to a factual finding in the Court’s oral

verdict issued after the bench trial in this matter on May 12, 2023. The Court’s factual findings

referenced the defendant’s contemporaneous statement that he had “got those motherfuckers.” See

Dkt. 245 at 3, 11. On further review, the government does not believe that this precise quotation,

which the defendant made to his codefendant, is in the trial record.1 The defendant did state,

however, on the afternoon of January 6, 2021 and while referring to the U.S. Capitol Police, that

he had been “fucking handin’ it to them” on the Capitol Building’s west plaza earlier that day.

That statement is captured in Exhibit 145A, which was received into evidence.

                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      UNITED STATES ATTORNEY
                                                      D.C. Bar Number 481052


                                              By:     /s/ William Dreher
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1
    See ECF No. 209 ¶ 24 (Statement of Offense).
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